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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  JIN RIE                                CASE NO.
                                         2:20−cv−03050−DSF−RAO
               Plaintiff(s),
        v.                        Order to Show Cause re
  FIRST METRO REALTY, LLC, et al. Dismissal for Lack of
                                  Prosecution
           Defendant(s).




       Generally, defendants must answer the complaint within 21 days after
     service or 60 days if the defendant is the United States. Fed. R. Civ. P.
     12(a)(1).
        In this case, First Metro Realty, LLC failed to plead or otherwise defend
     within the relevant time. The Court orders plaintiff to show cause in writing
     on or before October 30, 2020 why the claims against the non-appearing
     defendant(s) should not be dismissed for lack of prosecution. Failure to
     respond to this Order may result in sanctions, including dismissal for failure
     to prosecute.

       IT IS SO ORDERED.

  Date: October 16, 2020                      /s/ Dale S. Fischer
                                             Dale S. Fischer
                                             United States District Judge
